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                United States Court of Appeals
                           FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                    ____________


No. 22-1142                                               September Term, 2023
                                                                          SEC-Rel34-95180
                                                 Filed On: October 23, 2023 [2023308]
Grayscale Investments, LLC,

              Petitioner

      v.

Securities and Exchange Commission,

              Respondent

                                    MANDATE

      In accordance with the judgment of August 29, 2023, and pursuant to Federal
Rule of Appellate Procedure 41, this constitutes the formal mandate of this court.


                                                        FOR THE COURT:
                                                        Mark J. Langer, Clerk

                                                BY:     /s/
                                                        Daniel J. Reidy
                                                        Deputy Clerk




Link to the judgment filed August 29, 2023
